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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

In re: BURGESS, ROGER CARROLL                           §         Case No. 17-64941-SMS
                                                        §
                                                        §
                                                        §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that S. Gregory Hays,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           1340 Richard B. Russell Bldg.
                                             75 Ted Turner Drive, SW
                                                Atlanta, GA 30303
        Please take further notice that the Court will hold an initial telephonic hearing for announcements on
Trustee's Final Report and Applications for Compensation at the following number: toll free number 833-568-
8864; Meeting ID 161 179 4270 at 10:15 a.m. on March 30, 2022 in Courtroom 1201, United States
Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

         Matters that need to be heard further by the Court may be heard by telephone, by video conference, or
in person, either on the date set forth above or on some other day, all as determined by the Court in connection
with this initial telephonic hearing. Please review the “Hearing Information” tab on the judge’s webpage, which
can be found under the “Dial-in and Virtual Bankruptcy Hearing Information” link at the top of the webpage for
this Court, www.ganb.uscourts.gov for more information.

         Your rights may be affected by the Court’s ruling on these pleadings. You should read these pleadings
carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.) If you do not want the Court to grant the relief sought in these
pleadings or if you want the court to consider your views, then you and/or your attorney must attend the
hearing. You may also file a written response to the pleading with the Clerk at the address stated below, but
you are not required to do so. If you file a written response, you must attach a certificate stating when, how and
on whom (including addresses) you served the response. Mail or deliver your response so that it is received by
the Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.S.
Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of your
response to the undersigned at the address stated below

Date Mailed: 03/01/2022                                     By:: /s/ S. Gregory Hays
                                                                              Chapter 7 Trustee

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S. Gregory Hays
2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060




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                                     UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF GEORGIA
                                             ATLANTA DIVISION

In re:BURGESS, ROGER CARROLL                                §      Case No. 17-64941-SMS
                                                            §
                                                            §
                                                            §
                       Debtor(s)


                                   SUMMARY OF TRUSTEE’S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION

                 The Final Report shows receipts of :                              $                        115,530.95
                 and approved disbursements of:                                    $                         87,961.09
                 leaving a balance on hand of1:                                    $                         27,569.86

            Claims of secured creditors will be paid as follows:

  Claim     Claimant            Claim Asserted         Allowed Amount of         Interim Payments to             Proposed
  No.                                                             Claim                        Date               Payment

                                                           None

                                                Total to be paid to secured creditors:          $                      0.00
                                                Remaining balance:                              $                 27,569.86

            Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                              Total           Interim          Proposed
                                                                            Requested       Payments to           Payment
                                                                                                  Date
  Trustee, Fees - S. Gregory Hays                                              7,528.17              0.00         7,528.17
  Trustee, Expenses - S. Gregory Hays                                            104.86              0.00           104.86
  Accountant for Trustee, Fees - Hays Financial Consulting,                    1,920.00              0.00         1,920.00
  LLC
  Accountant for Trustee, Expenses - Hays Financial                               87.34              0.00            87.34
  Consulting, LLC
  Charges, U.S. Bankruptcy Court                                                 260.00              0.00           260.00
  Attorney for Trustee Fees (Other Firm) - Arnall Golden                       5,490.50              0.00         5,490.50
  Gregory LLP



          1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

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  Reason/Applicant                                                           Total            Interim      Proposed
                                                                         Requested        Payments to       Payment
                                                                                                Date
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden                    9.09             0.00           9.09
  Gregory LLP

                  Total to be paid for chapter 7 administrative expenses:                    $              15,399.96
                  Remaining balance:                                                         $              12,169.90

             Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                    Total              Interim        Proposed
                                                                      Requested          Payments to    Payment
                                                                                         Date

                                                        None

                  Total to be paid for prior chapter administrative expenses:                $                   0.00
                  Remaining balance:                                                         $              12,169.90

               In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured)
      creditors.
               Allowed priority claims are:
  Claim      Claimant                              Allowed Amount         Interim Payments                 Proposed
  No.                                                     of Claim                  to Date                 Payment

                                                        None

                                                 Total to be paid for priority claims:       $                   0.00
                                                 Remaining balance:                          $              12,169.90

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $770.10 have been allowed and will be
      paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
      allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if applicable).

             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                              Allowed Amount         Interim Payments                 Proposed
  No.                                                     of Claim                  to Date                 Payment
  1          T Mobile/T-Mobile USA Inc                       475.25                       0.00               475.25
  2          Figi's Gifts                                    294.85                       0.00               294.85




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                     Total to be paid for timely general unsecured claims:                $                  770.10
                     Remaining balance:                                                   $               11,399.80

              Tardily filed claims of general (unsecured) creditors totaling $2,413.87 have been allowed and
      will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
      claims have been paid in full. The tardily filed claim dividend is anticipated to be 100.0 percent, plus
      interest (if applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim      Claimant                              Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment
  3          CARLOS BASTO                                  1,836.12                    0.00               1,836.12
  4          Atlanta Diabetes Associates                     577.75                    0.00                   577.75

                     Total to be paid for tardily filed general unsecured claims:         $                2,413.87
                     Remaining balance:                                                   $                8,985.93

               Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
      ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
      after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
      dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
      applicable).
               Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
      ordered subordinated by the Court are as follows:

  Claim      Claimant                              Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

                                                        None

                                              Total to be paid for subordinated claims: $                      0.00
                                              Remaining balance:                        $                  8,985.93

              To the extent funds remain after payment in full of all allowed claims, interest will be paid at
      the legal rate of 1.23% pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $178.43.
      The amounts proposed for payment to each claimant, listed above, shall be increased to include the
      applicable interest.
             The amount of surplus returned to the debtor after payment of all claims and interest is
      $8,807.50.




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                                               Prepared By: /s/ S. Gregory Hays
                                                                         Chapter 7 Trustee
    S. Gregory Hays
    2964 Peachtree Road, NW, Ste. 555
    Atlanta, GA 30305
    (404) 926-0060




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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